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October 15, 2020


VIA ELECTRONIC MAIL

Hon. Analisa Torres
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Pharo Gaia Fund, Ltd. v. Bolivarian Republic of Venezuela, No. 19 Civ. 3123 (AT)

Dear Judge Torres:

        Plaintiffs Pharo Gaia Fund, Ltd. and Pharo Macro Fund, Ltd. submit this letter in
response to the October 14, 2020 letter of the Bolivarian Republic of Venezuela (“Venezuela”)
requesting that the Court enter a proposed judgment with language restricting Plaintiffs’ rights
to transfer the bonds at issue in this case. Plaintiffs respectfully request that the Court deny
Venezuela’s request and promptly enter judgment.

        This Court has already squarely rejected Venezuela’s request to include language in
the judgment restricting sales of the bonds. In its Order granting summary judgment to
Plaintiffs, the Court “decline[d] to impose restrictions on Plaintiffs as a condition of entering
judgment.” ECF No. 56, at 15. As the Court recognized, Venezuela has not presented “any
reason to believe that Plaintiffs will engage in [fraud],” and Venezuela’s “concerns may be
addressed in the future by the federal securities laws, courts’ inherent power to punish fraud
on the court, and the rules of any restructuring process eventually established by
Defendant.” Id. The Court then directed Plaintiffs to “submit proposed judgments consistent
with this order.” Id. And that is precisely what Plaintiffs did.

        Venezuela offers nothing new to justify deviating from this Court’s summary judgment
Order. Contrary to Venezuela’s assertions, Plaintiffs did not “recommend” including language
in the judgment that required court permission for sales of the bonds. ECF No. 60, at 1.
Plaintiffs suggested that language in the alternative, and only “to the extent there is any merit
to Venezuela’s request.” ECF No. 47, at 27. Plaintiffs’ principal argument was (and is) that
Venezuela’s request is meritless. As Plaintiffs explained at summary judgment, the “remote
possibility [of fraud by third parties] does not entitle Venezuela to special, extra-contractual
considerations and procedures.” Id. at 26.
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        Venezuela’s rehashed arguments for a special accommodation remain entirely without
merit. Venezuela cites no law entitling it to the special judgment language it seeks, and there
is none. As Venezuela’s own source recognizes, the “vast majority of public company shares
are owned in ‘street name,’” ECF No. 60-5, at 1, and the same is true of most securities held
at brokerage firms, see U.S. Securities and Exchange Commission, Fast Answers,
https://bit.ly/3dqph1N (“When you buy securities through a brokerage firm, most firms will
automatically put your securities into ‘street name.’”). Yet judgments are routinely entered in
cases involving the nonpayment of corporate bonds without the conditions Venezuela requests
here. Venezuela offers no reason why fraud-prevention mechanisms are necessary in
sovereign debt cases but no others.

         That some courts have agreed to include Venezuela’s proposed language does not
establish an entitlement to that language as a matter of law. The litigation involving sovereign
bonds issued by Argentina is far afield—unlike there, the bonds here do not trade widely and
are subject to sanctions that generally prohibit transfer of the bonds. Moreover, Venezuela
still has not cited a single instance in which double payment has occurred or even been alleged,
let alone double payment tied to a fraudulent sale of bonds by a judgment creditor. 1

        Contrary to Venezuela’s insistence, the form of Plaintiffs’ proposed judgment is not
“inexplicabl[e].” ECF No. 60, at 2. Venezuela fails to acknowledge that for over a week,
Plaintiffs engaged in good-faith negotiations with Venezuela to accommodate its concerns,
notwithstanding that the Court had already rejected Venezuela’s demand for special
fraud-prevention mechanisms. Plaintiffs’ request for an extension of the time to file a proposed
judgment was made for the express purpose of allowing more time for those discussions. See
ECF No. 57.

        Although Plaintiffs reiterated to Venezuela that its arguments lack merit, Plaintiffs
proposed a compromise in an attempt to spare this Court from having to intervene. In
particular, Plaintiffs offered to include language in the judgment requiring Plaintiffs and their
successors and assigns to: (1) refrain from selling or otherwise transferring any of their
beneficial interests in the bonds at issue in this action unless such sale or transfer also includes
Plaintiffs’ corresponding interests in the judgment, and (2) provide the Court and Venezuela
notice of any sale or transfer of their beneficial interests at issue in this action within seven
calendar days of the sale or transfer.



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     The article Venezuela cites as evidence that “fraud and improper activity in the sovereign
     bond market is common” discusses the fabrication of bond certificates, not double recovery
     by judgment creditors. ECF No. 60, at 4; ECF No. 60-4.
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         Those conditions would allow for the sale of the bonds without imposing an
unnecessary burden on both Plaintiffs and the Court, while still directly resolving Venezuela’s
alleged concerns. The first condition would address Venezuela’s concern that “a plaintiff may
transfer the securities without also transferring this Court’s judgment.” ECF No. 60, at 3. The
second condition would address Venezuela’s concerns that “it will be impossible for the
Republic or the Court to know—or to learn—whether or when [a transfer] had occurred,” and
that “it is impossible for the Republic to ensure that the Bonds are not transferred to Specially
Designated Nationals and Blocked Persons.” Id. at 3–4. But Venezuela would not agree to
Plaintiffs’ proposed compromise and insisted instead on a blanket requirement that court
permission be required for any sale of the bonds. In light of Venezuela’s refusal to reach a
mutually agreeable solution, Plaintiffs filed a proposed judgment “consistent with [the Court’s]
order.” ECF No. 56, at 15.

        Plaintiffs urge the Court to adhere to its summary judgment decision and “decline[] to
impose restrictions on Plaintiffs as a condition of entering judgment.” ECF No. 56, at 15.
Having rebuffed Plaintiffs’ good-faith attempts to cooperate, Venezuela can claim no
entitlement to the accommodations it now seeks. But if the Court disagrees, it should impose
only the less-restrictive conditions that Plaintiffs proposed to Venezuela.

Respectfully submitted,


/s/ Matthew D. McGill


Matthew D. McGill

cc: Counsel of Record
